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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                   AT LEXINGTON

 UNITED STATES OF AMERICA,                                  NO. 5:17-CR-26-KKC-REW
         Plaintiff,

 V.                                                                    ORDER

 DARMON VONTA SHAW
         Defendant.



                                            *** *** ***

      This matter is before the Court on Magistrate Judge Robert E. Wier’s Recommended

Disposition. (DE 129). Defendant Darmon Vonta Shaw was arrested on September 28, 2017

in the Eastern District of Michigan based on an arrest warrant issued in this District. (DE 101).

Shaw was charged with one count of conspiracy to knowingly and intentionally distribute a

mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance,

and a detectable amount of carfentanyl, a Schedule II controlled substance, in violation of 21

U.S.C. § 841(a)(1), all in violation of 21 U.S.C. § 846. The indictment alleges that the amount of

carfentanyl involved in the conspiracy was 10 grams or more. (DE 65).

      Magistrate Judge R. Steven Whalen conducted a detention hearing on October 2, 2017 and

ordered Shaw released pending trial. (DE 105-5). That same day, the United States sought, and

this Court granted, a stay of the release order. (DE 102, 103). Shaw was transported to this District

and, after being arraigned, filed a motion to lift the stay of the release order. (DE 123). Magistrate

Judge Wier conducted a detention hearing on November 6, 2017 and issued a Recommended

Disposition pursuant to 28 U.S.C. § 636(b)(1)(B) on November 7, 2017. The Magistrate Judge

recommended that the United States’ motion for revocation of Magistrate Judge Whalen’s release
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order (DE 102) be granted, the Defendant’s motion to lift the stay on the release order (DE 123)

be denied, and ordered Shaw held in custody pending trial based on irremediable risk of danger

and nonappearance. The parties were given five days to object to the Recommended Disposition

and neither party has filed objections. (DE 129).

   Accordingly, the Court, being fully advised, HEREBY ORDERS:

   1. the Magistrate Judge’s Recommended Disposition (DE 129) is ADOPTED as and

       for the opinion of the Court;

   2. the United States’ motion for revocation of Magistrate Judge Whalen’s release order (DE

       102) is GRANTED;

   3. Defendant’s motion to lift the stay of the release order (DE 123) is DENIED;

   4. Defendant is committed to the custody of the Attorney General or a designated

       representative for confinement in a corrections facility separate, to the extent practicable,

       from persons awaiting or serving sentences or held in custody pending appeal. Defendant

       must be afforded a reasonable opportunity to consult privately with defense counsel.

       On order of the United States Court or on request of an attorney for the Government,

       the person in charge of the corrections facility must deliver Defendant to the United

       States Marshal for a court appearance.

   Dated November 27, 2017.
